Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 1 of 38

GOODWIN | PROCTER Jeffrey D. Skinner Goodwin Procter LLP
: T: 202.346-4205 Counselors at Law
jskinner@goodwinprocter.com 901 New York Avenue, NW

Washington, DC 20001
T: 202.346.4000
F: 202.346.4444

October 28, 2009

VIA FIRST CLASS MAIL AND E-MAIL

 

Eric S. Glover

Office of the Attorney General for the District
of Columbia

44] 4th Street, NW, Suite 6N04

Washington, DC 20001

eric.glover@dc.gov

Re: Huthnance vy. District of Columbia: Plaintiff?s Expert Report
Dear Eric:

Enclosed please find a copy of the expert report of Larry P. Danaher.

be

Jeffrey D. Skinner

 

Enclosure

ec! John Moustakas (via e-mail only)
Arthur B. Spitzer (via e-mail only)
Frederick V. Mulhauser (via e-mail only)
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 2 of 38

DECLARATION OF LARRY PATRICK DANAHER

I, Larry Patrick Danaher, depose and state the following:

I, QUALIFICATIONS

I am a retired police captain from the Lafayette Police Department in Lafayette, Indiana.
I have been involved with law enforcement for over 25 years. I have investigated over 1,000
criminal cases, ranging from simple cases of theft and burglary to serious and complex crimes
like rape, robbery, embezzlement, fraud, and homicide. I have made arrests for minor crimes
like disorderly conduct and for major felony crimes like homicide and armed robbery.

I have extensive experience as a patrol officer, SWAT commander, trainer, and patrol
supervisor. I have supervised ongoing criminal investigations and tactical operations that require
split-second decisions to be made. I have supervised subordinate police officers and been
responsible for reviewing and approving their paperwork, including arrest reports.

I have authored and had materials published on investigations and police procedures and
tactics which have been cited by other authors. I have lectured extensively throughout the
United States on police tactics, investigations, procedures, and misconduct. I have lectured on
these topics at the University of Chicago School of Law; the National Investigators Association,
and the Institute of Police Technology and Management, to name a few.

I have been a consultant to the United States Department of Justice, the National Institute
of Justice, and the Law Enforcement Training Network. I have met with the President of the
United States on two separate occasions to discuss law enforcement issues. I am a National
Police Instructor.

Over just the past two years, I have trained over 900 officers from police departments and

law enforcement agencies across the United States on topics such as proper police procedures,
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 3 of 38

tactics, and investigation techniques. I have trained numerous officers on how to make a proper
arrest, and on how to avoid the mistakes that lead to police liability for unlawful arrests.

I work to stay current on trends in the law enforcement field by continuing to read
scholarship in the field, including articles on police tactics, investigations, police misconduct,
and similar topics. I also continue to take classes to stay on top of the changing nature of law
enforcement and to stay capable of drawing reliable conclusions about the cause and effects of
police practices and misconduct. For further information about my qualifications, as well as a
list of cases for which I have either testified by deposition or at trial, please see my curriculum
vitae, attached as Exhibit 1.

On the basis of my extensive training, education, and professional experience, I have a
deep understanding of police tactics, procedures, and supervision. In addition to this general

knowledge and understanding, I also reviewed the following materials in formulating this expert

opinion:

1. Amended Complaint, Smith v. Dist. of Columbia, et al.

2. PD-163 Arrest/Prosecution Report for the arrest of Lindsay Pierce Smith on
November 16, 2005

3, Collateral/Bond Receipt of Lindsay Huthnance, November 16, 2005

4. Citizen Complaint Review Board, “Disorderly Conduct Arrests Made by
Metropolitan Police Department Officers” (Nov. 19, 2003)

5. Police Complaints Board, Annual Reports for Fiscal Years 2004-2006

6. MPD Special Order 84-34, “Disorderly Conduct Arrests” (June 29, 1984)

7. MPD Special Order 92-8, “Disorderly Conduct Arrests” (June 24, 1992)

8. MPD Special Order 92-9, “Enforcement of the ‘Incommoding’ and ‘Failure to

Move On’ Sections of D.C. Code § 22-1107, 1121(2)” (June 29, 1992)

9. MPD Training Bulletin 92-1, “Enforcement of the Disorderly Conduct Statutes”
(June 30, 1992)

10. Excerpts from the MPD D.C. Criminal Code Handout (Oct. 2005) addressing
disorderly conduct

11. MPD video, “Enforcement of Disorderly Conduct Statutes” (1994)

12. MPD General Order, “Citation Release Program” (Mar. 29, 2007)

13. MPD Special Order 02-06, “Citation Release Processing” (Feb. 25, 2002)

14. MPD Standard Operating Procedures, “PD Form 61D (Violation Citation)” (Dec.
26, 2005)
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 4 of 38

15. PD-163 Arrest/Prosecution Reports for approximately 900 arrests for Disorderly
Conduct (Loud & Boisterous) between November 2004 and November 2005

16. Transcript of the Deposition of Richard Ehrlich (Oct. 21, 2009 — rough draft)

17. Transcript of the Deposition of Liliana Acebal (Oct. 22, 2009 — rough draft)

18. Transcript of the Deposition of James Peter Antonio (Oct. 22, 2009 — rough draft)

19. Pepin Andrew Tuma, “My ‘Crime’ on U Street? Offending the Police,” The
Washington Post (Aug. 9, 2009)

20. Bonnie Rochman, “The Gates Case: When Disorderly Conduct is a Cop’s
Judgment Call,” Time (July 26, 2009)

21. Clarence Page, “Obama’s Henry Gates-gate,” Real Clear Politics (July 26, 2009)

22. Eric Nalder, Lewis Kamb and Daniel Lathrop, “Blacks are arrested on ‘contempt
of cop’ charge at higher rate,” Seattle Post-Intelligencer (Feb. 28, 2008)

23. Cambridge Police Department, Cambridge, MA, Incident Report # 9005127 (July
16, 2009)

24. Charles Ogletree, “Lawyer’s Statement on the Arrest of Henry Louis Gates, Jr.,”
The Root (July 20, 2009) (available at http://www.theroot.com/views/lawyers-
statement-arrest-henry-louis-gates-jr)

25. Various judicial opinions and legal articles concerning disorderly conduct and
“contempt of cop” (background materials)

[ recognize that the accounts given by the involved parties often present factual disputes
and discrepancies, which may come to light and affect the original expert analysis. Additionally,
I understand that discovery in this matter is still ongoing, and information relevant to my opinion
may yet be produced. I reserve the right to supplement this report and the opinions stated herein

as additional discovery is conducted, received, and/or reviewed.

Il. ASSIGNMENT AND SUMMARY OF OPINION

I was retained by Plaintiff Lindsay Huthnance’ to express an expert opinion regarding
whether (1) her arrest on November 16, 2005, was appropriate under the circumstances; and
(2) the District of Columbia’s policies, procedures, and practices with respect to disorderly
conduct arrests in effect on or before November 16, 2005, were reasonable in light of the

November 19, 2003, report of the Citizen Complaint Review Board (“CCRB”) regarding

 

Although the police paperwork refers to Plaintiff by her maiden name, Lindsay Pierce Smith, | understand

that she is now married. Consequently, I use her married name throughout this report.

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Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 5 of 38

wrongful disorderly conduct arrests. Based upon my extensive experience in law enforcement
generally and training police offers in proper police procedures specifically, and my review of
the materials identified above, my answer to both of these questions is “No.”

It is clear that the District of Columbia Metropolitan Police Department (“MPD”) lacks
proper policies, procedures, and practices for handling disorderly conduct incidents; fails to
adequately train its officers to properly handle disorderly conduct arrests; and neglects to employ
adequate supervision to correct the way these case are handled by MPD officers. Moreover, |
believe that there is a significant problem with improper disorderly conduct arrests in the District
of Columbia. As detailed in the November 19, 2003, report of the CCRB, the District of
Columbia has a significantly higher rate of arrests for disorderly conduct than other jurisdictions
of similar size. This problem is compounded by the District of Columbia’s unique “post-and-
forfeit” procedure, which is used to resolve many disorderly conduct arrests. This procedure
effectively guarantees that no prosecutor or judge will ever review disorderly conduct arrests
disposed of through the post-and-forfeit procedure. As the CCRB noted, “[t]he high number of
disorderly conduct arrests, combined with an arrest procedure that allows citizens arrested for
disorderly conduct to ‘post and forfeit’ a $25 ‘collateral’ at the police station at the time of the
arrest ... leaves the majority of disorderly conduct arrests with little or no review after the arrest
is concluded.” CCRB Rep. at 2.

To remedy this potential problem of wrongful disorderly conduct arrests, the CCRB
recommended that the MPD take various steps. But these recommendations were either ignored
or, if action was taken, the steps were ineffective. In other words, despite the clear identification

of serious problem by the CCRB, the MPD has not taken the steps necessary to correct that
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 6 of 38

problem. In my opinion, the MPD’s conduct in this regard falls far short of that of a reasonable
law enforcement agency confronted with a similar situation.

The MPD’s failure to act to protect its citizens from improper disorderly conduct arrests
is manifest in the arrest of Lindsay Huthnance on November 16, 2005. In my expert opinion, the
police paperwork and the testimony of Officers Liliana Acebal and James Antonio describe a
patently improper and unlawful arrest for disorderly conduct. Although Ms. Huthnance was
charged with disorderly conduct (loud and boisterous), the facts are clear that she was arrested
for “contempt of cop”—a phrase used to describe arrests made when citizens are openly and
publicly criticizing or disrespecting the police. Ms. Huthnance’s unlawful arrest could have been
prevented if the District of Columbia had taken reasonable steps to address the problems with
disorderly conduct arrests identified by the CCRB. Yet, despite being informed in explicit terms
of the problem, the District of Columbia took no steps to protect its citizens from police
misconduct and abuse of the disorderly conduct statute, and Ms. Huthnance suffered as a result.

I was paid a flat fee of $6,000.00 to cover all of my services in this case, except time

spent at deposition. For deposition, | charge $2,500.00, plus travel expenses.

I. UNLAWFUL DISORDERLY CONDUCT ARRESTS IN THE DISTRICT OF
COLUMBIA

A police department’s obligation to develop effective policies, procedures, training, and
supervision is particularly strong with respect to disorderly conduct arrests because a large
number of such cases are never prosecuted. The penalty for the disorderly conduct offense is
usually small, often just a small fine that can be paid without ever going to court. Because this
penalty is relatively minor, most people arrested for disorderly conduct are unlikely to undertake

the time and expense to seek their day in court, even if they believe they were arrested
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 7 of 38

unlawfully. As recognized by the CCRB and discussed below, this is particularly true in the
District of Columbia, where the post-and-forfeit procedure used to resolve many disorderly
conduct arrests essentially shields those arrests from any judicial or other independent review.

Police officers know about the subjective nature of the disorderly conduct offense, and
unscrupulous officers can use the offense as a cover for an arbitrary, improper, or unlawful arrest
made to harass or retaliate against a citizen who Is acting disrespectfully to the police officer.
The phrase “contempt of cop” was coined to describe exactly this situation: an arrest made in
retaliation for behavior perceived as disrespectful or insufficiently deferential to police authority,
rather than for any legitimate law enforcement purpose. To be clear, “contempt of cop” is not a
valid, statutory offense in any jurisdiction within the United States. However, it is the actual and
improper basis for many arrests that fall under any one of several statutory formulations—e.¢g.,
disorderly conduct, disturbing the peace, obstructing a police officer, or resisting arrest, to name
a few.

Arrests for “contempt of cop” tend to occur when a police officer thinks he or she should
not be challenged or questioned. “Contempt of cop” arrests typically involve perceived or actual
challenges to police authority, including a lack of deference (such as by asserting one’s
constitutional rights), disobeying instructions, or expressing interest in filing a complaint against
the officer. “Contempt of cop” situations may be exacerbated if other officers witness the
allegedly contemptuous behavior, making it even more difficult for an overreaching officer to
back down. In Washington, DC, disorderly conduct—although a valid statutory offense—is a
vehicle used by unscrupulous officers to punish a citizen for “contempt of cop.”

Law enforcement officials and experts around the country are well aware of the

“contempt of cop” phenomenon. In over 25 years in law enforcement, I have heard the term
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 8 of 38

innumerable times, and have discussed the concept with many colleagues. The phrase has been
used in published judicial decisions, legal and law enforcement scholarship, newspaper articles,
and even in police department materials. The type of police abuse of power and overreaching
that animates the “contempt of cop” approach is a theme I have made a part of my training of
officers on proper arrest practices. Specifically, I have trained officers to recognize when
disrespectful conduct by citizens rises to the level of a criminal offense, and when it does not. |
use my own Danaher “3 Rs Paradigm”—the three “Rs” stand for revenge, retaliation, and
retribution—to demonstrate and emphasize the motivations that tempt officers to abuse their
arrest powers to satisfy an improper impulse to show a citizen who is the boss, but which
ultimately result in unreasonable and unnecessary arrests. The purpose of this training, among
other things, is to prevent officers from making improper “contempt of cop” arrests.

These unreasonable “contempt of cop” arrests, in turn, may push officers to fabricate
their accounts of events, further compromising the officers’ integrity and professionalism.
Moreover, such arrests can create a cascade of unintended consequences, including assaults and
resistance to arrests that citizens can sense have been wrongly made. Finally, the abuse and
overreaching of police erodes the public’s confidence in the police, making the job of the
overwhelming majority of upright officers both more difficult and more dangerous.

The “contempt of cop” phenomenon recently received nationwide attention when
Harvard professor Henry Louis Gates, Jr. was arrested on his doorstep for disorderly conduct
after accusing a police officer of racial profiling and demanding his name and badge number in
connection with a radio call for a possible burglary at Gates’s home. Even more recently, the

Washington Post covered the arrest of a citizen for “contempt of cop” after he walked down the
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 9 of 38

sidewalk shouting “I hate the police” at nearby MPD officers.” Both of these cases provide
instructive parallels to the officers’ conduct in this case.

The problem of wrongful disorderly conduct arrests for “contempt of cop” is certainly
well-known in the District of Columbia and to the MPD. In a 21-page report dated November
19, 2003, the CCRB discussed the problem in depth and made numerous recommendations to
address it. The CCRB report presented compelling anecdotal and statistical evidence identifying
“a larger problem with disorderly conduct arrests made by MPD officers.” CCRB Rep. at 2.
The CCRB report noted that “MPD’s disorderly conduct arrest rate is significantly higher than
the rate in nationwide statistics” and cautioned “that there is the potential for a large number of
improper or unlawful disorderly conduct arrests in Washington, D.C.” Rep. at 2.

The report explained that the problem of unlawful disorderly conduct arrests in the
District of Columbia is exacerbated by the “post-and-forfeit” procedure used to resolve many of
those arrests. Under that procedure, a person arrested for disorderly conduct may elect to post
collateral—typically a small amount, like $25 or $50-——in order to secure his or her release from
custody. The arrestee chooses to forfeit the collateral amount in exchange for having the
charge(s) dropped. In so doing, the arrestee waives his or her right to a hearing in court.
Because a large number of disorderly conduct arrests—“over 50% and sometimes as high as
67%”—-are resolved using post-and-forfeit, the CCRB warned that the procedure led “to a
greater potential for improper disorderly conduct arrests that may go unnoticed. Without any
further review, an improper disorderly conduct arrest can more easily pass through the system

without being scrutinized.” CCRB Rep. at 17.

 

Given how well-known the “contempt of cop” phenomenon is and the notoriety of the Gates arrest, | find it

unlikely that Officers Antonio and Acebal are unfamiliar with the phenomenon.
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 10 of 38

In order to correct this problem, the CCRB recommended that the MPD take several
steps, including (1) “provide additional training to its officers about the law and procedure
related to disorderly conduct arrests;” (2) distribute a video from the Chief of Police to all MPD
officers “reinforcing their responsibilities in conducting disorderly conduct arrests;” and
(3) examine a sample of disorderly conduct arrests “to determine if there are any widespread
problems in the entire pool of disorderly conduct arrests” and “pursue appropriate discipline
against officers who are making improper disorderly conduct arrests.” Rep. at 20-21.

I have reviewed the CCRB report in depth, and in my expert opinion, the picture it paints
of disorderly conduct arrests within the District of Columbia is shocking, and would move any
reasonable law enforcement agency to take strong steps to correct the problem. Further, |
believe that the significant potential identified by the CCRB for most improper disorderly
conduct arrests to go unnoticed because of the post-and-forfeit procedure should have alerted the
District of Columbia that strong measures were needed to replace the protections provided by the
three independent actors who normally review the conduct of arresting officers in the course of
performing their functions: the judge, prosecutor, and defense lawyer. Because the main benefit
of post-and-forfeit to the arrestee—resolution of the case without having to take the time and
spend the money to defend him or herself in court—ironically also prevents those who believe
they were unlawfully arrested from challenging that arrest during a trial, the post-and-forfeit
procedure permits MPD officers to operate essentially unchecked when making disorderly

conduct arrests. Such a situation should be intolerable to any reasonable law enforcement

 

3 This kind of sampling is commonly undertaken by major urban police departments which recognize the
unusually high risk of abuse of statutory offenses that can be used to punish “contempt of cop.” For instance,
Pittsburgh; Cincinnati; Prince George’s County, Maryland; and San Francisco are tracking these types of arrests.
Eric Nalder, Lewis Kamb and Daniel Lathrop, “Blacks are arrested on ‘contempt of cop’ charge at higher rate,”
Seattle Post-Intelligencer (Feb. 28, 2008). This kind of tracking helps identify problem officers who need either

better training, better supervision, or a different job.
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 11 of 38

agency. Thus, it is my opinion that MPD was aware of the systemic vulnerabilities and abuse of
the disorderly conduct statute since at least November 19, 2003, if not much earlier, and has
failed to eliminate these vulnerabilities despite knowing that wrongful arrests would continue to
result.

In my experience, disorderly conduct statutes are inherently prone to abuse and police
departments nationwide know this. There is a nationwide consensus among responsible police
departments and their officers that, although we do not like it, being yelled at, cursed at, held in
contempt, shown distain, and treated with disrespect is all part of the job of being a police
officer. Still, it is clear that officers routinely ignore these legal niceties and make arrests under
circumstances where they have lost both their objectivity and their cool because of an inability to
shrug off citizen criticism and verbal abuse. Because of every citizen’s right to freedom of
speech, case law has firmly established that non-threatening verbal abuse of police officers is not
criminal behavior. As the phrase makes clear, disorderly conduct is aimed at conduct, not
speech, and certainly not the content of an individual’s speech.

Unless effective policies, procedures, and practices are in place covering disorderly
conduct arrests, citizens are vulnerable to arbitrary, improper, and unlawful arrests at the hands
of police officers who either misunderstand the statute or use it to harass and retaliate against
citizens who they deem to be acting disrespectfully. As noted above, this potential for abuse in
the District of Columbia is exacerbated by the post-and-forfeit procedure. The significant
problem of wrongful disorderly conduct arrests, compounded by the post-and-forfeit procedure,
was explicitly identified by the CCRB report almost two years before the arrest in this case. In
my expert opinion, any reasonable law enforcement agency would have taken strong steps to

effectively respond to that problem. MPD has not.

10
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 12 of 38

In total, it is my opinion that “contempt of cop” arrests are a very real problem for law
enforcement agencies, and the use of the disorderly conduct offense as a cover for improper
“contempt of cop” arrests is a well-known phenomenon. In the District of Columbia, this
problem is exacerbated by the use of the post-and-forfeit procedure to resolve many disorderly
conduct arrests, which results in the majority of those arrests never being subject to prosecutorial
or judicial review. Further, I believe that the District of Columbia was fully aware of the
potential abuse of its disorderly conduct statute by November 19, 2003, when the CCRB
published its report on disorderly conduct arrests. Finally, I believe that a reasonable

municipality and its police department would take steps to address such abuse.

IV. THE THREE COMPONENTS TO ENSURE PROPER DISORDERLY CONDUCT
ARRESTS

In every officer/citizen interaction, whether for disorderly conduct or any other offense,
the police officer’s actions depend on three key components: (1) policies and procedures;
(2) training; and (3) supervision. Each of these components must be present and effective in
order to ensure that an arrest is proper. If there is a breakdown in any of these components, bad
things can happen: officers or citizens can be injured or, as in this case, citizens can be unjustly
arrested. The CCRB recommendations fit this conceptual framework. The report calls on MPD
to review and revise its policies, update and expand its training, and institute additional processes
to supervise its officers and ensure that the disorderly conduct arrests they make are proper.

A. The District of Columbia’s Policies Regarding Disorderly Conduct

According to the District of Columbia’s corporate witness, the only policies and
procedures directly relating to disorderly conduct were those attached to the October 2005

training materials on the subject: (1) a June 30, 1992, Training Bulletin entitled “Enforcement of

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Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 13 of 38

the Disorderly Conduct Statutes”; (2) Special Order 92-8 (June 24, 1992) regarding “Disorderly
Conduct Arrests”; and (3) Special Order 92-9 (June 29, 1992) regarding “Enforcement of the
‘Incommoding’ and ‘Failure to Move On’ Sections of D.C. Code § 22-1107, 1121(2).”

I have reviewed these policies regarding disorderly conduct, and in my expert opinion,
they fall woefully short of providing meaningful guidance to MPD officers of how they should
react in disorderly conduct situations. The policies offer very little in the way of specifics and
read more like a law library reference sheet than a practical guide to make a proper disorderly
conduct arrest. There is very little relevance in the written policy for the average MPD officer on
the street, other than the procedures for processing an arrest. Indeed, in my view, the MPD’s
policies on disorderly conduct arrests are little better than not having a policy at all, and provide
little meaningful guidance to MPD officers to use in determining when a disorderly conduct
arrest is proper.

Further, the MPD’s policies directly relating to disorderly conduct all predate the
November 19, 2003, CCRB report. It appears that the District of Columbia updated its policies
regarding post-and-forfeit in response to the report, but its policies regarding disorderly conduct
remained unchanged. In my opinion, a reasonable police department would have updated its
policies in response to such a clearly defined and significant problem. This is especially
troubling in light of the well-recognized abuse to which the disorderly conduct offense can be
put—particularly in cases solely brought about by a citizen’s interaction with the police.

In short, it is my opinion that MPD’s policies regarding disorderly conduct arrests are
inadequate and of little, if any, use in providing guidance to MPD officers in the application of
the disorderly conduct statute. MPD made no attempt to change these policies in response to the

November 19, 2003, CCRB report. In my opinion, MPD’s failure to develop effective policies
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 14 of 38

with respect to the disorderly conduct offense demonstrates its deliberate indifference to the
manifest evidence that the disorderly conduct statute is being substantially abused.

B. Training Provided to MPD Officers Regarding Disorderly Conduct Arrests

Due to the vulnerability to abuse of the disorderly conduct statute, police officers require
continuous in-depth training and re-training on disorderly conduct arrests, especially for those
officers who find it difficult to distinguish permissible exercises of free speech from genuine
breaches of the peace. However, the training on disorderly conduct provided to MPD officers is
wholly inadequate to instruct officers on when a disorderly conduct arrest is proper and lawful,
and when it is not.

I reviewed the section of the MPD’s October 2005 “D.C. Criminal Code Handout”
dealing with disorderly conduct and I watched a short video on the disorderly conduct offense
provided by the MPD to its officers.’ According to the District of Columbia’s corporate witness,
a version of the handout was distributed to all recruits at the MPD police academy, and all
officers saw the video at the academy or during trainings held during roll call. Additionally, the
materials in this case show that, since the 2003 CCRB report, disorderly conduct was included as
one of the topics of the 2006 in-service training required of all MPD officers, and was the subject
of a roll-call training given to all officers in June 2005. I have not seen any of the training
materials related to the in-service or roll-call trainings, but I assume that they are substantially

similar—and intended to be a “refresher”-—1o the information contained in the handout.°

 

4 The District of Columbia’s corporate witness testified that the video | watched was produced in 1994 and

updated in 2004. I have not seen the updated version, as it apparently was never produced to Plaintiff in discovery.
However, | understand that its content is virtually identical; the changes were mainly cosmetic, to update the look
and feel of the video. Additionally, I understand that former MPD Chief Ramsey filmed a short video discussing
disorderly conduct in response to the 2003 CCRB report, but I have not seen that video, because it also was
apparently not produced in discovery. I reserve the right to supplement this report if those videos contain any
material that I believe to be relevant to my opinions in this report.

° I reserve the right to supplement this report if the in-service training and roll-call training materials contain

any material that I believe to be relevant to my opinions in this report.

13
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 15 of 38

According to the District of Columbia’s expert witness, this constitutes all of the training directly
relating to the subject of disorderly conduct given to MPD officers.

I have reviewed the handout and video regarding disorderly conduct, and in my expert
opinion, these materials fail to provide effective instruction to MPD officers on the proper and
lawful application of the disorderly conduct law. These materials fall well short of what is
required to effectively teach MPD officers about disorderly conduct and give them the tools to
distinguish between proper and improper arrests for disorderly conduct, particularly those
involving the most malleable form of disorderly conduct: “loud and boisterous.” The materials
are simplistic and do not address the disorderly conduct elements and variables in nearly enough
depth to instruct officers on the statute’s proper application. Given that the “loud and
boisterous” variant of disorderly conduct is the most subjective form of disorderly conduct, and
thus the one most subject to abuse, | would expect that it would receive more attention in the
training materials than other types of disorderly conduct. But the handout contains only a single
page discussing the loud and boisterous offense, and the training video fails to cover it at all. It
is my experience training police officers that, to be effective, materials like this must include
extensive discussion of different scenarios to identify situations where probable cause is present
and situations where it is not so as to permit officers in the field to extrapolate from known
examples to resolve the unique facts presented by a particular scenario on the street.
Additionally, I believe that training on disorderly conduct must be directly tied to training on
conflict management and interactions with the public; because drawing the line between lawful
criticism of the police and a proper disorderly conduct can be difficult, it is essential to
emphasize the need for police officers to handle antagonism from citizens in a calm and stoic

manner. These materials fail in both regards, and are ineffective as a result.

14
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 16 of 38

Beyond the inadequacies of the written materials themselves, it is apparent that the
MPD’s training on disorderly conduct is deficient because whatever testing measures the MPD
has in place to ensure that its officers learn these materials are wholly inadequate. Neither
Officer Acebal nor Officer Antonio could recall the content of any training they received on
disorderly conduct, or when they might have received. In fact, the MPD’s failure to implement
effective training is on stark display in the testimony of Officer Acebal. Based on the deposition
testimony I reviewed, Officer Acebal is one of the most ill-equipped individuals to serve as a
police officer in a major urban area that I have come across in more than 25 years in law
enforcement. She testified that she could not remember receiving any training on disorderly
conduct, post-and-forfeit, or report writing. Indeed, she appears to have retained almost none of
whatever training she did receive, whether at the academy or on the job. When asked on direct
examination to articulate the elements of the disorderly conduct (loud and boisterous) crime for
which Ms. Huthnance was arrested, Officer Acebal could not. Further, her definition of probable
cause is pathetic. In my capacity as a trainer of police officers, I often say: “If you can’t talk
about it, you don’t know it. And if you don’t know it, that is because you were not trained on it.”
Officer Acebal’s testimony makes very clear that she cannot talk about even the most
fundamental aspects of her job. MPD’s failure to adequately train its officers on disorderly
conduct results in police officers like Officer Acebal being placed on the streets without a proper
understanding of the law and how to apply it. The citizens of the District of Columbia suffer as a
result.

But these training deficiencies are not merely conclusions based upon isolated cases of a
couple of officers’ inadequacies. The unusually high incidence of disorderly conduct arrests in

the District of Columbia confirms the shortcomings in training. The CCRB broadly recognized

15
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 17 of 38

this problem with the training on disorderly conduct in its 2003 report, suggesting that MPD
should consider “the extent to which any educational lessons or programs provide realistic
examples to guide officers, allow officers to ask questions, and raise issues regarding the law and
procedures, and test each officer’s knowledge of the material covered in the instruction.” CCRB
Rep. at 20. Nevertheless, MPD took only limited measures—and the most superficial and easy
fixes—to respond to the report’s recommendations regarding training, and those limited
measures appear to have been be ineffective, as demonstrated at the depositions of Officers
Acebal and Antonio. Of course, this is not surprising, given that the same, flawed training
materials were used for the refresher courses. Based on my review of the materials and the
deposition transcripts, I can only conclude that the training given to MPD officers on disorderly
conduct is at best severely flawed, and likely almost worthless, as its content is not transmitted in
any meaningful way to the officers on the street.

In sum, it is my opinion that the training on disorderly conduct given by MPD to its
police officers is inadequate and ineffective to instruct those officers on the proper application of
the disorderly conduct statute. Moreover, I believe that this problem was clearly identified in the
November 19, 2003, CCRB report. MPD’s limited, superficial measures taken to respond to this
problem were insufficient, and, as a result, the problem persists. In my opinion, MPD’s failure
to properly train its officers on disorderly conduct arrests demonstrates its deliberate indifference
to the manifest evidence that the disorderly conduct statute is being substantially abused.

C. The District of Columbia Does Not Effectively Supervise Disorderly Conduct
Arrests

The MPD’s lack of meaningful policy guidance and useful training on disorderly conduct
is exacerbated by its failure to institute mechanisms for the effective supervision of disorderly

conduct arrests by MPD officers. In my opinion, effective supervision is vital to the proper

16
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 18 of 38

enforcement of the laws, both to ensure that the officers on the streets understand the laws they
are charged with enforcing, and also to prevent unscrupulous officers from abusing the laws to
harass, embarrass, or otherwise harm the citizens they are supposed to protect. MPD’s failure to
install effective supervision structures is particularly concerning since no amount of training or
clarity of policies can prevent many of the “contempt of cop” arrests that are made by officers
who intend them to be retaliation for perceived or real disrespect or criticism by citizens (and
who know that the post-and-forfeit procedure will shield those arrests from any review). Close
supervision and identification of problem officers is the only way to deal with these cases. See
Eric Nalder, Lewis Kamb and Daniel Lathrop, “Blacks are arrested on ‘contempt of cop’ charge
at higher rate,” Seattle Post-Intelligencer (Feb. 28, 2008).

Arrests made by MPD officers for disorderly conduct are reviewed by several levels of
the chain of command. First, the patrol sergeant or equivalent reviews the arrest-prosecution
report to ensure that it adequately papers the offense. Next, the watch commander—typically a
lieutenant or above—reviews the report and signs off on it. At this point, the MPD’s procedures
require no further review, and the case will be sent to the prosecutor’s office, unless the arrestee
has chosen to resolve the arrest with the post-and-forfeit procedure, in which case, the review
stops there and the matter will never go before a prosecutor or judge. Although MPD apparently
performs periodic audits of a sample of ail arrests, it conducts no review targeted specifically to
disorderly conduct arrests as it has been urged to do—especially those resolved by post-and-
forfeit. This supervision structure is entirely inadequate to ensure the lawful application of the
disorderly conduct statute, for at least two reasons.

First, review of the arrest report by the supervising officers during the booking process is

ineffective because the supervising officers are applying the same inadequate policy guidance

17
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 19 of 38

and training as their subordinates. MPD offers no training specifically for supervisors that
emphasizes ways to ensure that disorderly conduct arrests made on their watch are lawful. Asa
result, MPD officers either apply their own misunderstandings of the disorderly conduct law and
approve wrongful arrests or they turn a blind eye to this problem, allowing their subordinates to
enforce the law in an arbitrary manner. Under these circumstances, improper disorderly conduct
arrests simply receive a rubber stamp. Combined with the lack of judicial review when post-and-
forfeit is used to resolve disorderly conduct arrests, this means that many of these arrests receive
no real supervision at all. Leaving unfettered discretion in the hands of the officers on the
streets, with no meaningful supervision, is a recipe for disaster.

This problem posed by lack of meaningful supervision is clearly evident in this case,
where the arrest report completed by Officer Acebal—an officer who plainly has limited grasp
on the proper application of the disorderly conduct law, and who, therefore, should be closely
supervised in such arrests—completely failed to set forth probable cause for a disorderly conduct
arrest. This report was reviewed both by Officer Antonio and the watch commander, Lt. Ralph
Neal, but neither officer recognized the deficiencies in the report or cared enough to ask Officer
Acebal to make corrections. In fact, despite powerful evidence of her profound limitations,
nobody has ever asked Officer Acebal to make corrections to an arrest report. In over 25 years
in law enforcement, I have never known an officer who has vot had to re-do paperwork at the
request of a supervisor. Even very capable police officers make mistakes; but an effective
supervisory structure catches those mistakes and corrects them or identifies the problem. That
someone of Officer Acebal’s abilities has had no such experience speaks volumes to me about

the virtually meaningless supervision at MPD.

18
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 20 of 38

Second, and even more alarming, is the MPD’s refusal to review its officers’ disorderly
conduct arrests, despite considerable urging by the CCRB. The CCRB report was clear that the
supervisory structure in place—which appears basically unchanged to this day——was not
effective in preventing wrongful disorderly conduct arrests and strongly recommended adoption
of this “critical” step. Remarkably, MPD has taken no steps to address the report’s
recommendation and, perhaps for fear of what such a review might show, appears content to
simply ignore this “critical” step in addressing the problem. It goes without saying that failing to
monitor “contempt of cop’’-type arrests risks allowing systemic problems to fester and repeat
themselves.

The District of Columbia’s witness claimed that such a review would be so burdensome
as to be ineffective, but I disagree with this assessment. I reviewed approximately 900 PD-163
arrest/prosecution reports for disorderly conduct (loud and boisterous) arrests between November
2004 and November 2005. These reports varied in quality, and some appeared to describe good
arrests. But others were less clear that the elements of the loud and boisterous offense were
present and probable cause to arrest existed. Such deficient arrest reports should raise red flags,
as I believe it is reasonable to assume that poor arrest reports are correlated with improper
arrests. I believe that the MPD’s failure to perform a similar review to identify and verify a
sample of disorderly conduct arrests was unreasonable.

In short, it is my opinion that MPD lacks an effective supervisory structure to monitor
disorderly conduct arrests, especially such arrests resolved through the post-and-forfeit
procedure. This deficient supervisory structure contributed to the problem of wrongful
disorderly conduct arrests identified by the November 19, 2003, CCRB report, and MPD has

done nothing to change it since that report. Moreover, the District of Columbia, including MPD,

19
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 21 of 38

has ignored the CCRB’s recommendation that it sample disorderly conduct arrests to ensure
there is no systemic problem. In my opinion, refusing to monitor these arrests demonstrates
MPD?’s deliberate indifference to the manifest evidence that the disorderly conduct statute is

being substantially abused.°

V. THE ARREST OF LINDSAY HUTHNANCE

The disorderly conduct arrest of Lindsay Huthnance on November 16, 2005, raises
troubling questions about the failures of the District of Columbia to address the problem of
unlawful disorderly conduct arrests identified in the November 19, 2003, CCRB report. My
review of the police paperwork associated with Ms. Huthnance’s arrest, as well as the transcripts
of the depositions of the arresting officers, Liliana Acebal and James Antonio, leaves me with no
doubt that Ms. Huthnance committed no crime and, thus, was wrongfully arrested for criticizing
the police.

As an initial matter, I note that I relied heavily on the arrest report generated during Ms.
Huthnance’s arrest, as | would in a review of any arrest. The arrest report is the most important
document in any arrest. It is used by the prosecutor to decide whether criminal charges should
be brought. It is also an important tool for the arresting officer to use when he or she is called to
testify in a criminal case; memories fail over time, but an effective arrest report captures all facts
relevant to the offense in black and white. Accordingly, the completion of a useful and effective

arrest report is the capstone of professional police work.

 

° T also note that the District of Columbia’s corporate witness admitted that the Mayor of the District of

Columbia has never provided a report to the D.C. Council on the use of the post-and-forfeit procedure, as he is
required to do annually. This disregard of the District of Columbia’s obligation to monitor a vulnerable process to
ensure that it is not being abused is consistent with the MPD’s refusal to monitor its own arrests to determine
whether there is a problem with unlawful disorderly conduct arrests. Both contribute to the presence of a
demonstrable tolerance for poor supervision and oversight.

20
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 22 of 38

In this case, however, Officer Antonio testified that he reviewed only the Plaintiff's
amended complaint prior to his deposition and he repeatedly emphasized that he did not review
the PD-163 arrest/prosecution report for Ms. Huthnance’s arrest. I cannot begin to comprehend
why an officer would ignore the official and contemporaneous account of an arrest in preparing
to give testimony under oath, and instead base his preparation on a document drafted by an
opposing party’s lawyer, long after the relevant events had taken place. In my experience, prior
to testifying about an event that occurred years before, police officers would read the police
paperwork, and especially the arrest report, because those documents set forth the official
version of events on the date in question, and are meant to contain all facts relevant to an arrest.

I can think of only two reasons why the amended complaint was the only document
Officer Antonio reviewed in preparation for his deposition, either: (1) he wanted to tailor his
testimony to address the most troubling allegations in the complaint; or (2) the arrest report was
so poorly written as to be useless. Officer Antonio testified that he has made over 100 arrests
and assisted on approximately 500 others in his career. I find his highly detailed and precise
recollection of one minor arrest—occurred almost four years ago—highly suspicious. I have
trained numerous police officers in interrogation techniques, and a fundamental truism that I
teach is that a suspect that adds many insignificant details to “color” his or her recollection of
long-past events is to be viewed with considerable suspicion. When reading the transcript of
Officer Antonio’s deposition, I was reminded of this truism, and immediately questioned the
veracity of his recollection. By contrast, Officer Acebal apparently could remember almost
nothing of the arrest, and appears to have relied almost entirely on the PD-163 report to testify

about the events of the night in question. Frankly, this is what I would expect virtually any

2]
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 23 of 38

officer to do: rely on the arrest report contemporaneously created to document the arrest in
order, years later, to inform his or her testimony about that arrest.

Furthermore, I find it striking that Officer Antonio’s account of the night of Ms.
Huthnance’s arrest is so markedly different from Officer Acebal’s. Both officers inconsistently
claim to be the central figure in the case against Ms. Huthnance, having all the contacts, making
all the decisions, and being the focus of her ire. Officer Acebal, both as Officer Antonio’s
trainee and as a witness who appeared at deposition to do everything possible to disengage from
the case, had every motivation to point to Officer Antonio as the primary actor in Ms.
Huthnance’s arrest, if only it were true. Yet, she did not; rather, the only thing Officer Acebal
was able to articulate clearly and confidently during her deposition is that she was lead actor
throughout the arrest. Under these circumstances, it is difficult to imagine that Officer Acebal
lied about or misremembered her role and intentionally minimized Officer Antonio’s. Moreover,
if Ms. Huthnance’s arrest took place as Officer Antonio described, it is impossible to imagine
that he would have signed off on the arrest report she prepared, given its stark inconsistencies
with his version of the facts.

A consequence of accepting that Officer Acebal was the arresting officer not only in
name, but also in fact, is the necessary rejection of Officer Antonio’s contrary account that
Officer Acebal was the arresting officer on paper only. Officer Antonio’s considerable
experience—participating in some 600 arrests—translates to considerable experience testifying.
Indeed, he testified after Officer Acebal did and, more importantly, after a closed-door session
between the two depositions with Officer Acebal and their counsel. As I noted above, he
testified with an unrealistic level of detail in light of the relative insignificance of the arrest, the

absence of significant paperwork, and with great variation from the details in the single narrative

22
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 24 of 38

police report that exists. He testified that he took no notes during Ms. Huthnance’s arrest and
that all he relied on, quite curiously, was the plaintiff's amended complaint. All this gives me
great pause in attributing much significance to his demonstrably tailored account.’ In any case,
as I indicated below, even assuming his version of the facts, my opinions would remain

unchanged.
A. The Arrest Report Describes an Improper Arrest

In my opinion, a prudent police officer relying on the PD-163 in this case would surely
conclude that no offense was committed. The narrative description of the crime on the arrest
report—which I am informed constitutes the sworn Gerstein—simply does not make out the
elements of the offense of Disorderly Conduct (Loud & Boisterous).

That narrative states that Officer Acebal observed Ms. Huthnance yelling at an unknown
number of unnamed police officers inside a store (which I understand was a 7/11 convenience
store). Those officers inside the 7/11 apparently did not believe Ms. Huthnance’s conduct
constituted a breach of the peace, as they took no action to either cite or arrest her for disorderly
conduct. The narrative next describes Ms. Huthnance exiting the store and, as she was leaving,
turning and yelling a profanity back at the officers inside the store. Once again, those officers
took no action to detain Ms. Huthnance. The report states that Officer Acebal then approached
Ms. Huthnance, who had exited the store, and advised her to move along. When Ms. Huthnance
continued to curse at the officers inside the store, Officer Acebal decided to issue her a ticket for
being loud and boisterous. During this stop, Ms. Huthnance challenged Officer Acebal’s

authority, stating that she wanted her “fucken badge number.” It appears that Ms. Huthnance

 

7 I note that Officer Antonio testified that, as his trainee, Officer Acebal had to successfully complete

numerous milestones, including conducting an arrest. Given Ms. Huthnance’s gender—very rare for this type of
offense—and the need for Officer Acebal to check certain boxes before advancing out of her probationary status,
Officer Acebal’s account is all the more credible.

23
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 25 of 38

challenged Officer Acebal several times in this manner, making statements like “What a waste of
my tax money,” “I am a citizen of this country,” and “What are you going to arrest me for, being
drunk with a burrito.” Officer Acebal once again told Ms. Huthnance to stop screaming and
commanded her to turn around and place her hands on the wall for the officer’s safety. When
Officer Acebal again advised Ms. Huthnance to stop yelling, Ms. Huthnance responded by
shouting, “Fuck you, little bitch.” Officer Acebal regarded that comment as ‘“‘a breach of the
peace” and arrested Ms. Huthnance for disorderly conduct.

Undoubtedly, Ms. Huthnance’s behavior was disrespectful and bellicose, but it was not
disorderly conduct within the meaning of the statute. In my opinion, she was arrested for
“contempt of cop,” and nothing else. Nothing in the police report indicates that Ms. Huthnance’s
actions caused any crowd to form. Nor is any mention made of bystanders being inconvenienced
or alarmed by them. Tellingly, no witnesses—whose peace was allegedly breached—are
identified in the narrative or elsewhere on the report.

The presence of a crowd of persons who are or may be incited by the conduct, or of
people that complain of the conduct, is an essential element of a proper arrest for disorderly
conduct (loud and boisterous). It is not only a relevant fact, but the single most critical issue in a
disorderly conduct arrest. But the PD-163 report is completely silent on this point. Nor is there
any mention of any actions by Ms. Huthnance that threatened the safety of any officer, civilian,
or property. Because arrest reports are intended to record all facts essential to establishing
probable cause to believe the charged offense was, in fact, committed, the absence of these
crucial elements from the contemporaneously prepared report is, to my way of thinking,
definitive proof that those facts did not exist. As we routinely train officers to understand, it if is

not documented, it did not happen.
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 26 of 38

Taken as a whole, the PD-163 from Ms. Huthnance’s arrest all but screams “contempt of
cop.” Officer Acebal saw fit to repeatedly note Ms. Huthnance’s challenges to her authority, as
when Ms. Huthnance asked for Officer Acebal’s badge number, complained that the officers’
actions were a waste of her tax money, informed the officers that she was an American citizen
(an obvious reference in this context to the constitutional protections enjoyed by citizens), cursed
at them, and questioned the officers’ ability to arrest her for any crime.

Assertions of rights and displays of disrespect are common triggers for “contempt of cop”
arrests. In the arrest of Professor Gates this past summer, it was the demand for the officer’s
name and badge number and the professor’s accusation of the officer’s racism that triggered a
similarly improper arrest for “contempt of cop.”

Other information put into the PD-163 report confirms the animus behind Officer
Acebal’s retaliatory arrest of Ms. Huthnance. Ms. Huthnance, who was 62 and 160 pounds at
the time of the arrest, is falsely described on this official police report as a female impersonator,
a term used to describe cross-dressing or transgendered men. Similarly, Ms. Huthnance’s modus
operandi is improperly listed as “Hates Police.” In my opinion, these details are entirely
consistent with an officer who has arrested a citizen for being disrespectful, and is using his or
her power to “return the favor” by embarrassing the citizen in the official arrest report.

Simply put, the seminal police form in this case demonstrates that Ms. Huthnance was
arrested because either the arresting officers did not know what disorderly conduct is or because
they decided to demonstrate to Ms. Huthnance that she could not exercise her constitutional right

to criticize the police without consequences. Under either scenario, the arrest was unlawful.
B. Officer Antonio Did Not Describe a Lawful Arrest

As noted, Officer Antonio’s description of the facts surrounding Ms. Huthnance’s arrest

differ markedly from both Officer Acebal’s description and the official police paperwork, and for

25
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 27 of 38

the reasons stated above, is not credible. However, even his version of events does not establish
a proper disorderly conduct arrest. Completely contrary to Officer Acebal’s sworn testimony
that she was the principal actor throughout the encounter with Ms. Huthnance, Officer Antonio
testifies that it was he who first approached Ms. Huthnance as she was leaving the 7/11 store and
yelling at the officers inside, he who incurred much of Ms. Huthnance’s wrath, he who decided
to issue her a ticket, he who made the crucial decision about when probable cause for disorderly
conduct was established, and, consequently, he who determined to arrest Ms. Huthnance.®

He recalled that she swore at him initially (something that Officer Acebal testified
happened to her, not him), but then quieted down and began to walk away from the scene.
Officer Antonio testified that, shortly thereafter, however, Ms. Huthnance, for no apparent
reason, turned back and started yelling at him and Officer Acebal, saying things like “I don't
have to go anywhere” and “I know my fucking rights.” At this point, although there is no
reference to it in the contemporaneous arrest report, Officer Antonio recalled that people on the
sidewalk and in the apartment building across the street began paying attention to the incident,
and he decided to issue Ms. Huthnance a ticket for being loud and boisterous. As he was
returning to his vehicle to retrieve his citation book, however, Officer Antonio testified that he
heard Ms. Huthnance say to Officer Acebal, “Fuck you, little bitch.” Upon hearing those words,
Officer Antonio testified that he decided to arrest Ms. Huthnance for disorderly conduct.

In my professional opinion, Officer Antonio did not describe a proper disorderly conduct
arrest, either. Rather, even if it were to believed, Officer Antonio’s profoundly inconsistent
account of the entire incident appears to have been caused and escalated by his actions and those

of his fellow officers. Ms. Huthnance was leaving the scene of her prior confrontation with other

 

$ On the heels of Officer Acebal’s bewildering deposition testimony that established she could neither

adequately describe the offense of the arrest nor the probable cause, it is not totally surprising that Officer Antonio
might seek to cover for his trainee by attributing the decisions requiring judgment to himself.

26
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 28 of 38

MPD officers when he first approached her, and at that time no crowd had gathered. A prudent
officer would have allowed Ms. Huthnance to walk away, recognizing that, in the absence of any
other offense requiring police intervention, engaging her would be an unnecessarily escalating
act. Certainly, there was no basis to stop Ms. Huthnance because of her encounter with the
group of MPD officers inside the 7/11. These officers had witnessed whatever it was that she did
and said inside the store and, by their inaction, made plain that no criminal offense they were
duty-bound to act upon had occurred. Further, according to Officer Antonio, the escalating
events were all protected speech: criticisms of the police, assertions of rights, and profane
disrespect to Officer Acebal.”

Plainly, Ms. Huthnance’s disrespectful attitude towards the police—prompted, according
to her account, by the considerable disrespect MPD officers had shown her during an encounter
inside the 7/1 1—-was at the forefront of the recollections of both officers. But disrespecting or
criticizing the police is not a crime, and accounts that seek to turn it into one should be viewed
with an especially suspicious eye, given the bias and self-interest of the police who are at once
bearing the brunt of a citizen’s criticism and simultaneously claiming its disqualification as a
protected form of speech.

Although generally accorded considerable protection, criticism can amount to disorderly
conduct if it breaches the peace, but, again, claims that otherwise protected speech is criminal
must be approached with considerable skepticism. Here, while both officers described facts
suggesting the possibility of a breach of the peace at their recent depositions, as indicated above,

none of those alleged facts appears anywhere in the arrest report. I cannot understand why

 

? I note that although Officer Acebal seemed to have little recollection of the event beyond

the description in the PD-163, she distinctly recalled that Ms. Huthnance swore at her multiple
times.

27
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 29 of 38

neither officer saw fit to document the formation of a crowd—a potentially crucial factor to
whether there may have been a breach of the peace—in the arrest paperwork, but could only
remember it years later. If the incident really caused multiple cars to come to a dead stop in front
of the convenience store, or 10-15 people to congregate on the steps of the apartment buildings
across the street, or other people to hang out of their windows watching the altercation, surely it
would have been sufficiently memorable and germane to find its way into the contemporaneous,
official record of the arrest. The failure to include such information is a gross failure of a police
officer’s professional duty and, had Ms. Huthnance not resolved her arrest by post-and-forfeit,
surely would have resulted in the case being “no-papered.”

I also find the officers’ testimony designed to suggest a breach of the peace suspect given
that the arrest occurred at about the time the area bars were closing and “rowdy” people were
leaving those establishments. Given the mixed commercial/residential character of this
neighborhood, some street noise is expected late at night, and a significantly great disturbance
would be necessary to make out a breach of the peace where the arrest occurred than in a quiet,
fully residential area. In addition, based on my experience, I doubt that Ms. Huthnance’s
behavior, as described by the officers and recorded in the PD-163, would have caused a crowd of
the size Officer Antonio described to form, or cars to stop on the street. Rather, any note taken
by the public of the incident likely was due to the presence of the police themselves. It is human
nature to slow down and “rubberneck” when a police-citizen confrontation is observed, but this
surely does not convert every arrest into a disturbance of the peace. Thus, to the extent there was
any disturbance in the early morning hours of November 16, 2005, it was caused by the arrest

itself, rather than Ms. Huthnance’s conduct leading to the arrest.

28
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 30 of 38

Finally, to emphasize: I am highly suspicious of the recent and convenient epiphany
leading to evidence from which the defendants might seek to fashion a claim that the peace was
breached. The absence of this crucially fundamental information from the arrest report tells me

that this is a fabrication to fill a gap in the case identified years after the fact.

VI. CONCLUSION

It is my expert opinion that the arrest of Lindsay Huthnance on November 16, 2005, was
improper. My experience and all of my instincts tell me that Ms. Huthnance was arrested for
“contempt of cop.” The police paperwork and the testimony of Officers Acebal and Antonio
strongly support that view, focusing as they do on Ms. Huthnance’s criticism and disrespect
toward the MPD officers. Consequently, it is my opinion that her arrest for disorderly conduct
was simply a pretense. Simply put, Ms. Huthnance was exercising her constitutional right to
express her displeasure with the police, and she did so in a profane and, at times, loud manner.
This might be bad manners, but it is not illegal.

I further conclude that the District of Columbia’s failure to institute effective policies,
training, and supervision in response to the November 19, 2003, CCRB report’s identification of
the problem of unlawful disorderly conduct arrests allowed Ms. Huthnance’s wrongful arrest to
occur. It is also my opinion that this problem still exists. The District of Columbia’s continued
refusal to address these serious problems with disorderly conduct arrests is beyond
comprehension, and it puts every citizen within or visitor to the District of Columbia at risk for a
potential wrongful disorderly conduct arrest. It also evidences the District of Columbia’s
knowledge of and deliberate indifference to the fact that its citizens are systematically arrested

without sufficient cause and, worse still, often for exercising their constitutional rights.

29
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 31 of 38

 

Signed under the Penalties of perjury on October 28, 2009

Zo A.

Ce ~~ Larry Patrick Danaher

 

 

 
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 32 of 38

EXHIBIT 1
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 33 of 38

Larry P Danaher
2118 N. 25" Street
Lafayette, IN 47904
765.429.4164

LPDAS@AOL.COM

POLICE CONSULTING EXPERIENCE

Larry Danaher has been a consultant since 1992. In that capacity he has been
providing professional consulting to law enforcement agencies in two primary areas:
(1) Training, (2) litigation services.

TRAINING

Larry Danaher has over 5000 hours in teaching experience. He conducts 5-10
training seminars and programs each year. These presentations range from (1) one
to (5) day seminars. He has trained members of ATF, Federal Marshals, DEA, FBI,
Secret Service, ASLET, Law Enforcement Television Network, Police Officers,
Police Supervisors, Managers, Police Academies, Police Agencies, IPTM, Purdue
University, Chicago Law School, Public Defenders Investigator Association, and
other Private entities.

The most common areas of presentations and instruction are:

¢ Constitutional Limits of Police Use Of Force And Police
Liability
Use of force, Special tactical operations, Swat management and tactics,
Supervision, Criminal investigations, Police pursuits, Internal affairs
management.

e Evaluation Of and Use Of Police Weapons
Handguns, Shotguns, Impact weapons, Diversionary devices, Less
lethal/Kinetic energy projectiles, Electrical devices, Chemical, MP5, Canine
use.

e Field Tactics
Defensive tactics, Arrest and control, Weapon retention, Tactical building
entries, Close quarters personal control, Communication tactics and
principles, Conflict management, Crowd control.
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 34 of 38

Some of these programs have been presented in every state in the United States, for
police training academies, private training groups, public agencies, governmental
entities and academic facilities.

LITIGATION SERVICES

Since 1992, Larry P Danaher has been involved with law enforcement civil litigation
cases and criminal matters. He has acted both as a consultant and testimonial expert
witness. These have been in Federal, and State courts. He has worked with plaintiff
attorneys and defense attorneys. He has also been employed in this area by
insurance entities, and the United States Department of Justice.

While there has been a wide range of specific law enforcement practices and
procedures, which have been involved in these cases, some of the more common
issues addressed in case development and subsequent testimony have been:

e Patrol procedures including tactics, arrest techniques and emergency
responses.

e Use of force and deadly force.

e SWAT operations and Procedures and Tactics

e Special Weapons and firearms.

e Crowd Control.

e Investigative procedures and investigations.

¢ Police misconduct investigations.

e Police policy and procedure development.

¢ Police management.

e Undercover operations

e Police training.

These litigation services have been in the following states and jurisdictions:

Arizona Indiana Missouri
California Iowa New Mexico
Connecticut Kansas Ohio
Delaware Kentucky Virginia
Florida Louisiana West Virginia
Georgia Michigan Wisconsin

Illinois Minnesota Pennsylvania
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 35 of 38

POLICE EXPERIENCE

 

Larry P Danaher was a sworn police officer in the state of Indiana, and served for
over 20 years, between 1981-2002, with the Lafayette Police Department. He began
as a police officer and retired as a police commander with honors. During his tenure
on the police department, Larry P Danaher was fortunate to be assigned to every
major division within the police department. Because of that experience he obtained
the knowledge and skills to successfully master each division he was assigned to.

Ranks Obtained.

e Sergeant
e Lieutenant
e Captain

1981 to 1985 worked as a patrol officer, K9 officer, undercover officer, Swat officer.

1985 to 1992 worked in the training division as a training officer. While in the
training division he was promoted to training supervisor. From the training division
he was assigned to patrol and investigations.

1992 to 2002 promoted to the status of executive commander (Lieutenant, Captain).
During that period he took over from Swat officer to Swat Commander. Also during
that period from 1992 to his retirement he was assigned to 3 major divisions as a
policy maker and commander.

2002 Retired from the Lafayette Police Department with honors.

2004- 2007 Appointed Director of Safety and Security Parks Department.
2007- Present Full Time National Police Instructor.

PATROL

Working in patrol and K9 he used exceptionally sound judgment and diplomacy
when faced with difficult situations. Larry P Danaher while in patrol and still to this
day keeps up-to-date in field of patrol and on current trends. He has a clear
understanding of all factors of patrol, and has a command of the necessary skills
and information needed to succeed.

While in patrol Larry had to withstand exposure to and deal appropriately with
stress involved in dealing with hostile views, opinions, and behavior in antagonistic
settings; with crime victims, accident victims, disaster victims, and their families;
with incidents of suicide and domestic violence. He endure verbal, mental, and
physical abuse, including threats, taunts, and insults to self, family, and fellow
officers. As a patrol officer he had to affect hundreds of full physical custody arrest,
forcibly if necessary, using handcuffs and other restraints. He performed law
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 36 of 38

enforcement patrol functions, on foot or in a vehicle. He searched for missing,
wanted, or lost persons and evidence. Respond to crimes in progress such as; arm
robbery, assaults, burglary, and shootings. Disarm persons. Pursue fleeing suspects,
in a vehicle or on foot. Stopped suspicious individuals and vehicles. Restrained or
subdue resisting suspects. Operated a motor vehicle, during the day or night, in
emergency situations, at high rate of speeds, on the open road or in congested
traffic, in unsafe conditions. Transport citizens, prisoners, and committed mental
patients, using handcuffs and other restraints, when appropriate. Performed rescue
and support functions at the scene of accidents, emergencies, and disasters.
Performed searches of people, vehicles, buildings, and large outdoor areas, which
may involve seeing, feeling, and detecting objects. Worked crowd control. Mediated
disputes and confrontations with hostile and potentially violent individuals.
Gathered information by observation of behavior, visual inspection and oral
communication; determine what information is significant; assess a situation based
on that information; an exercise independent judgment to make decisions
concerning choice of action and equipment.

INVESTIGATION

While Larry P Danaher was in investigations, he investigated crimes such as
Homicides, Robbery, Burglary, Auto Theft, Rape, Child Abuse, Elderly Abuse,
Fraud and many other crimes against persons and property. He had a very high
clearance rate and received many written commendations for his investigative skill.
Larry was the first investigator to introduce investigative hypnosis to the police
department, which he taught investigative hypnosis at Purdue University.

SWAT

Larry P Danaher has been involved in hundreds of SWAT operations which
include-

Hostage Rescue, Warrant Service, Buy-Bust Vehicle Assaults, Barricaded Persons,
High-Risk Surveillance and Personal Protection Details, and Drug Raids. Larry was
sought out by many law enforcement agencies to help them with Swat call outs and
assisted them with making sound tactical decisions.

UNDERCOVER

As an undercover police officer he worked narcotics and infiltrated a major drug
and burglary ring. His undercover work resulted in hundreds of arrest and
warrants; as well as recovering thousands of dollars in stolen property and taking
stolen guns off the street.

TRAINING
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 37 of 38

While Larry Danaher was serving as a training officer and supervisor, it was his job
to implement training for the department. It was his responsibility that all training
was valid, relevant, effective, efficient, and that the training supported the personal
growth of each member. His training was not only sought after by his own
department, but by police departments around the United States. It was not
uncommon for the Chief of Police to receive calls or letters requesting Larry’s
assistances in helping with training.

SUPERVISOR

For 12 years Larry P Danaher held a supervisory position within the police
department. Larry P Danaher held the rank of Sergeant, Lieutenant and Captain
and retired with honors as a police commander. In those ranking positions it was his
responsibility for Patrol and Investigative Techniques, Planning, Leadership and
Interpersonal Relationship, Organization for Patrol and Investigations, Command
and Control, Hiring, Firing, Discipline and Reward, Crime Prevention and
Community Relations, Manpower Distribution, Special Operations and Weapon
Selections. His supervision and leadership gained him national recognition.

2004- Appointed Safety and Security Director

One of Larry’s responsibilities as safety and security director is head up the Park
Ranger Program. Lafayette has the 7" largest Park Department System in the state
of Indiana. Larry the Chief of Park Rangers ensures that his officers patrol and
investigate crimes within the parks. Larry also, provides training for his officers in
the areas of Use of force, conflict management and criminal investigations.

FORMAL AND SPECIALIZED EDUCATION

1981 Undergraduate Degree in Criminal Justice and Corrections. Larry Danaher

has over (10,000 hours) specialized police training.
(List of specialized police training schools available upon request)

AWARDS AND COMMENDATIONS

During Larry P Danaher’s 20 years as a police officer and supervisor he has
received numerous written commendations. He also received a medal for a valor act,
when he risked his own life to save another. Some of his written commendations
were for Swat Operations, Undercover assignments, Investigative assignments,
Critical incident management, Leadership, Civic and Charitable work. Larry has
been personally recognized by Ohio Attorney General, ATF and many other law
enforcement academies and agencies.

AFFILIATIONS
Case 1:06-cv-01871-RCL Document 86-6 Filed 11/23/09 Page 38 of 38

American Society of Law Enforcement Trainers

International Association of Law enforcement Firearms Instructors

International Law Enforcement Educators and Trainers Association

International] Association of Directors of Law Enforcement Standards and Training
Fraternal Order of Police (Life Member)

PUBLICATIONS/PAPERS

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in Modern Policy. Part one Police Chief Fall issue 1997

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Who are You?. Law Enforcement Trainer May2005

Leadership Your Officers Want To Follow. Teaching manual Volume one 1997
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Police Use Of Force. LETN Video

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